70 F.3d 1261
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Dexter Anthony ELCOCK, Plaintiff-Appellant,v.Robert MCCABE, Sheriff;  Doctor Clardy;  Ms. Blue;  Ms.Frank Davis, Defendants-Appellees.
    No. 95-7028.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  November 16, 1995.Decided:  December 5, 1995.
    
      Dexter Anthony Elcock, Appellant Pro Se.  Bruce Christopher Sams, Sams &amp; Hawkins, P.C., Norfolk, VA, for Appellees.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the dismissal without prejudice of his 42 U.S.C. Sec. 1983 (1988) complaint.  Appellant's complaint was dismissed without prejudice to his right to file a proper claim alleging facts that show specific injury to himself, and to provide the court with the Defendants' correct addresses for process to be served.  This court may exercise jurisdiction only over final orders, and certain interlocutory and collateral orders.  28 U.S.C. Sec. 1292 (1988);  FED. R. CIV. P  . 54(b).  Because Appellant may be able to save this action by amending his complaint, and by providing the court with the Defendants' addresses, the dismissal order which Appellant seeks to appeal is not an appealable final order.  See Domino Sugar Corp. v. Sugar Workers Local Union 392, 10 F.3d 1064 (4th Cir.1993).  Accordingly we dismiss the appeal.
    
    
      2
      We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    